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Case 2`:06-CV-01813-TSZ Document 79

 

 

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Filed 05/02/07 Page 1 of 4

The l lonorable Thumas S. Zilly

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UNITED S"I`A'l`F.S DISTRICT CDUR'\`
WF,S'I`ERN DISTRICT' (`)F WA Sl.-IINGTON

WAS]"IINGTON RESEARC[~|
FOUNDA'I`|()N,

Plalintif`t` and Dcfc:ndam
in |nterventic)n,

V.

MATSUS} |I'I`A ELECTRIC
INDUSTRIALJ COMPANY, LTD.;

PA NASONIC CORI’. (:)F NORTH
AM|§RICA; SAMSUN(]
ELEC"|"R{')N]CS COMPAN`Y`, L'|`IJ;
SA]\»”]SUNG EI.EC'I"RONICS
AMERICA, I`NC.; NOKIA CORP.;
NOKIA INC.; A|`-'Pl.li"d INC.; DE,LL INC`..;
|\;O(_il’l`ECl-I INTERNA'I`.|ONAL S.A.;
LOG|'|`|"SCH INC-.; MDTO`R(_')I¢A, INC.;
PLANTRONICS, INC.; SONY CURP,',
SONY CORP. Ol`~` AMI?R|CA; SONY
ERICSS()N MOBILE
COMMUNICA'|`|()NS AB; SONY
ERICSSON MOBILE
COMM`UN[CATIONS (USA) INC.;
TOSHIBA CC)RP._; TOSHIBA
AMERICA, INC,; WAFERTECH, LLCJ_,

§ De'f`¢ndanls,
and
CSR plc,

Plaimil`l` in |ntervention.

 

 

NO. 2:06-0\/-01313~'|`552

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NOTE rim MO'HON CALENDAR:
Apri130, 2007

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Case 2:06-CV-01813-TSZ Document 79 Filed 05/02/07 Page 2 of 4

l. STIPULATIDN

WHEREAS, Wa.shington Researeh Foundation ("‘WRF") and CSR plc (“‘CSR"’)
have agreed to settle all claims relating to CSR’s allegations that U,S. Patent 7,| 16363 (“the
‘963 Patent") is invalid and that CSR does not infringe the ‘963 Patent, and WRF’s claims
that CSR infringes the "963 Patent and U.S. l’atent 6,631,256 (“the ‘256 Patent") and WRF’s
claims that defendants Matsushita Electrie lndustrial Clornpany_. Limited, Fanasonic
Corporation Of North Arneriea, Bamsung Eleetronics Company, Limited, Samsung
Electronics Arneriea, lncorporated, Noltia Corporation, Nokia incorporated Apple lnc., Dcll
Inc., Logiteeh international S.A., Logitech lno., Motorola, lne._. Pianlronics, Inc., Sony
Corporation, Sony Corporation Ot`America, Sony Ericsson Mobile t'lnrnmunications AH,
Sony Ericsson i\/lobi|e Communications (USA) l`ne., Toshiha Cnrporation, Toshiba America,
lne., and Wafertcch, lsi.C {colleetively, the “Defendants") infringe the ‘963 patent and the
‘256 Patent by their manufacture, use. sale, offer for sale, or importation into the United
States of CSR’s products_;

WHEREAS, CSR and Wl`{ l~` have entered into a. Settletnent and Licensing
Agreement, which became effective within three days prior to the filing date of this
Stipulation;

NOW 'l`HEREFORE, in accordance with Federal Rule of Civil Procedul'e 41, CS’R
and WRF hereby stipulate, by and through their respective undersigned counsel of reeord_, to
the following:

l.. ln accordance with the terms of the Settlement and Licensing rftgreementl all

of WRF’s claims against CSR in the present action are herby dismissed with prejudice

2, All ol`CSR’s claims against WRF` in the present action a.re hereby dismissed

with prejudice

3. ` All of Wl{F’s claims against each Defendant to this action are dismissed

with prejudice as to (JSR’s products to the extent any alleged infringement is premised on

s'riPuLArlor~i AND [Pnorosao] onoan or otsMIssAL YARM\`J'I"H WILSD¢>N CALFQ PLLC

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1 the prescnce, inclusion or usc of a CSR product, and without prejudice as to any other
2 claims against such Defendants.
3 4. WR|~` and CSR shall each hear its own fees and costs in connection with this
4 action.
5
6 Datcd: Apri| 30, 2007 l{espectt`ully submitted,
7 BLANK LAW & TECHN{)I,()GY P.S. YARMUTH WILS`DON CALFO PLLC
i By; /.r/ C. penn cane By: ,»s/snna rt Wrn-ann t
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Il.
lT lS 50 ORDERED.

P'resented by,
YARMUTH WILSI)ON CALF`() PLLC

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Jeremy E. Rollar, WSBA No. 32021

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Attorncys for Plaintiff in intervention C.SR
plc

 

 

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The i-lonorablc'il_"homas§, Zill§ "__

Unitcd States Dlstriet Judge

FlSl.-I & RICHAR\)S()N P.C.

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Attorneys for Plainti ff in Intervention CSR
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